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 6
 7
 8                           UNITED STATED DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10
11 SECURITIES AND EXCHANGE                        )   CASE NO. 2-22-CV-01726-DAD-DB
   COMMISSION,                                    )
12                                                )   NOTION OF MOTION AND
          Plaintiff,                              )   MOTION TO DISMISS;
13                                                )   MEMORANDUM OF POINTS AND
   vs.                                            )   AUTHORITIES IN SUPPORT
14                                                )   THEREOF; MEET AND CONFER
   ARI J. LAUER,                                  )   CERTIFICATION
15                                                )
          Defendant.                              )   Date:      April 4, 2023
16 __________________________________             )   Time:      1:30 p.m.
                                                      Courtroom: 4
17
18          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
19          NOTICE IS HEREBY GIVEN that on April 4, 2023, at 1:30 p.m., or as soon thereafter
20 as the matter may be heard before the Honorable Dale A. Drozd in Courtroom 4 of the above-
21 entitled Court, located at 501 I Street, Sacramento, California, defendant Ari J. Lauer will
22 move this Court for an Order dismissing the Complaint and each Claim for Relief alleged
23 therein.
24
25          This Motion is brought pursuant to Federal Rule of Civil Procedure 12(b)(6) on the
26 grounds that the Complaint and each Claim for Relief alleged therein fail to state a claim upon
27 which relief can be granted.
28

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 1         This Motion will be based on this Notice, the attached Memorandum of Points and
 2 Authorities, and on such further evidence and argument as may be presented by way of Reply
 3 and at the hearing on this Motion.
 4
 5 Dated: December 22, 2022                         LAW OFFICES OF ARI J. LAUER
 6
 7
 8                                                  By: ___________________________
                                                                ARI J. LAUER
 9                                                        Attorneys for Defendant
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2
 3 I.       INTRODUCTION
 4          Plaintiff Securities and Exchange Commission alleges four Claims for Relief
 5 predicated upon the sale of a security. However, plaintiff attempts to stitch together three
 6 separate transactions to create a “security” where none exists. Moreover, even if the three
 7 transactions are treated as one, the transaction still fails two of the three prongs of the
 8 Howey test, the test articulated by the U.S. Supreme Court for the definition of a
 9 “security.” Since there is no security involved, the Complaint in its entirety fails to state a
10 claim upon which relief can be granted.
11
12          In addition, there can be no securities liability for nondisclosure absent a duty to
13 speak. As counsel for DC Solar Solutions, Inc. and DC Solar Distribution, Inc., defendant
14 Ari J. Lauer owed no duty to the adverse party, the Investors. In fact, the attorney-client
15 privilege and the attorney’s duty of confidentiality created a duty on the part of Lauer
16 not to disclose the very information plaintiff alleges Lauer should have disclosed. Since
17 Lauer could not disclose the information, this information cannot be the basis of a
18 securities fraud case.
19
20          The Claims for Relief alleged by plaintiff also require the employment of a
21 manipulative, deceptive or fraudulent device by Lauer. However, legal counsel creating
22 transaction documents does not make any representations upon which the investors may
23 rely. The mere provision of legal services is not enough to create liability. Also, the
24 Second Claim for Relief fails because Lauer receiving legal fees does not constitute
25 “obtaining money” as required to establish this claim.
26
27          Finally, the Third and Fourth Claims for Relief for aiding and abetting fail because
28 there is no primary liability on the part of Lauer and no duty to disclose.

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 1          In sum, none of the Claims for Relief alleged by plaintiff state a claim upon which
 2 relief can be granted and the Complaint in its entirety should be dismissed.
 3
 4 II.      LEGAL STANDARD
 5          Rule 12(b)(6) provides for dismissal of an action for a failure to state a claim upon
 6 which relief can be granted. F.R.C.P. 12(b)(6). The purpose of the Rule is to allow the
 7 court to eliminate actions that are fatally flawed in their legal premises and destined to fail,
 8 and thus to spare litigants the burdens of unnecessary pretrial and trial activity. Advanced
 9 Cardiovascular Sys., Inc. v. Scimed Life Sys., Inc., 988 F.2d 1157, 1160 (Fed. Cir. 1993).
10
11          A complaint may be dismissed as a matter of law for one of two reasons: (1) lack of
12 a cognizable legal theory or (2) insufficient facts under a cognizable legal claim. Robertson
13 v. Dean Witter Reynolds, Inc., 749 F.2d 530, 534 (9th Cir. 1984). On a motion to dismiss
14 for failure to state claim upon which relief can be granted, the Court need not accept
15 allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable
16 inferences. In re Gilead Sciences Securities Litigation, 536 F.3d 1049, 1055 (9th Cir.
17 2008).
18
19 III.     RELEVANT FACTS1
20          Accepting all of Plaintiffs’ allegations as true, the pertinent facts are as follows:
21          DC Solar Solutions, Inc. (“Solutions”) was in the business of manufacturing and
22 selling mobile solar generators (“Generators”). (Compl. ¶5). Investors purchased
23 Generators from Solutions and then leased them to DC Solar Distribution, Inc.
24 (“Distribution”). (Compl. ¶5). Solutions and Distribution are separate legal entities.
25 (Compl. ¶16). Defendant Ari J. Lauer (“Lauer”) was legal counsel for Solutions and
26 Distribution and prepared the transaction documents for the investments. (Compl. ¶7).
27
            1
28           The facts alleged in the Complaint are accepted as true for purposes of this Motion, but Lauer
            vehemently denies the truth of the allegations of wrongdoing.

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 1 IV.     EACH CLAIM FOR RELIEF FAILS TO STATE A CLAIM UPON WHICH
           RELIEF CAN BE GRANTED SINCE THERE WAS NO SALE OF A
 2         SECURITY
 3         A.     Each Claim For Relief Requires The Sale of a Security
 4         The First Claim for Relief alleges Lauer violated Section 10(b) of the Exchange Act
 5 [15 U.S.C. §78j(b)] and Rule 10b-5 thereunder [17 C.F.R.-§240.10b-5] (Compl. ¶67). The
 6 Third Claim for Relief alleges aiding and abetting violations of these same sections. Both
 7 Section 15 U.S.C. §78j(b) and 17 C.F.R.-§240.10b-5 proscribe unlawful conduct “in
 8 connection with the purchase or sale of any security.”
 9
10         The Second Claim for Relief alleges Lauer violated Section 17(a) of the Securities
11 Act [15 U.S.C. §77q(a)] (Compl. ¶70). The Fourth Claim for Relief alleges aiding and
12 abetting in violation of this same section. Section 77q(a) proscribes unlawful conduct “in
13 connection with the purchase or sale of any security.”
14
15         Thus, each Claim for Relief requires the sale of a security.
16
17         B.     The Definition of a “Security”
18         Plaintiff alleges the Investment Fund Contracts and Sale-Leaseback Contracts are
19 securities in the form of investment contracts. (Compl. ¶34). An “investment contract”
20 within securities law requires (1) an investment of money; (2) in a common enterprise; (3)
21 with an expectation of profits produced by the efforts of others. S.E.C. v. R.G. Reynolds
22 Enterprises, Inc., 952 F.2d 1125, 1130 (9th Cir. 1991); citing S.E.C. v. W.J. Howey (1946)
23 328 U.S. 293, 298-99. Whether interests conveyed constitute investment contracts is a
24 question of law. Ave. Cap. Mgmt. II, L.P. v. Schaden, 843 F.3d 876, 882 (10th Cir. 2016).
25
26         C.     Three Separate Transactions; Each Not an Investment Contract
27         Plaintiff attempts to stitch together three separate transactions to create a security
28 where none exists.

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 1                  i.      Creation of Investment Fund Limited Liability Company
 2          First, the investors formed an Investment Fund Limited Liability Company
 3 (“Investment Fund”), an entity created specifically for the purpose of the investment.
 4 (Compl. ¶21). There is no allegation that Solutions or Distribution ever held an interest in
 5 the Investment Fund or was a party to the LLC Agreement. The Investment Fund fails the
 6 Howey Test since there was no investment of money. Rather, the investors created a
 7 separate legal entity, wholly-owned by them, to make their investment.
 8
 9                  ii.     Purchase of Generators from Solutions
10          The Investment Fund then purchased Generators from Solutions. (Compl. ¶21). A
11 “security” is limited to investments and not other commercial dealings. United
12 Sportfishers v. Buffo, 597 F.2d 658 (9th Cir. 1978). The Investment Fund’s purchase of
13 solar generators was a commercial transaction where money was exchanged for goods. In
14 other words, a simple purchase of equipment. The purchase fails the Howey test because
15 there is no allegation, nor could there be, of a common enterprise or expectation that the
16 Investment Fund would receive profits from the efforts of Solutions. Phrased
17 alternatively, Solutions’ role was to manufacture and sell generators, which it did to the
18 Investment Funds. Thereafter, the Investment Fund’s efforts to lease the solar generators
19 and realize a profit involved others; it did not involve Solutions at all.
20
21                  iii.    Lease of Generators to Distribution
22          Solutions and Distribution are two separate legal entities. (Compl. ¶16).2 The
23 Investment Fund leased their Generators to Distribution. (Compl. ¶23). These leases fail
24 the Howey Test because there is no investment of money in Distribution by the Investment
25
26
27          2
              While plaintiff admits Solutions and Distribution are separate entities, plaintiff tries to blur
28          the lines by referring to them collectively as “DC Solar.” Solutions was a manufacturer of
            solar generators and Distribution was a leasing company.

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 1 Fund. To the contrary, Distribution made lease payments to the Investment Fund for the
 2 solar generators.
 3
 4         Given none of these transactions meets the Howey test for an investment contract,
 5 there was no sale of a security and the Complaint should be dismissed.
 6
 7         D.    Even If Taken As One Transaction; Still Not A Security Since No
                 Common Enterprise
 8         The second element of the Howey test is a common enterprise. A common
 9 enterprise is a venture “in which the fortunes of the investor are interwoven with and
10 dependent upon the efforts and success of those seeking the investment or of third parties.”
11 S.E.C. v. Goldfield Deep Mines Co. of Nevada, 758 F.2d 459, 463 (9th Cir. 1985). Thus, a
12 common enterprise exists if a direct correlation has been established between success or
13 failure of promoter’s efforts and success or failure of the investment. Id.
14
15         In Goldfield, a common enterprise was found because the investors’ fortunes were
16 clearly linked with those of promoter. The ore program required the sharing of profits, in
17 that promoter was to receive a 25% royalty fee for processing the investors’ ore.
18 Furthermore, the fortunes of both the investors and promoter were dependent upon the
19 success of the investors’ unique ore processing technique. If the processing technique were
20 to prove faulty, then both the investors and promoter would suffer financial losses. This
21 direct correlation between promoter’s potential failure and the investors’ losses supported
22 a finding of a common enterprise.
23
24         Unlike Goldfield, the Fund Investors fortunes are not linked to those of Solutions or
25 Distribution. Solutions made money by selling solar generators to third parties whether the
26 Fund Investors leased the generators or not. There is no correlation between their fortunes.
27 Similarly, the Fund Investors could make money from their lease with Distribution and
28 depending on the number of solar generators Distribution subleased, Distribution could

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 1 make money or lose money. In addition, the Fund Investors could lease the solar
 2 generators to other parties if Distribution breached the sublease, in which case there would
 3 be no correlation between the fortunes. There is no common enterprise between the Fund
 4 Investors and either Solutions or Distribution because Solutions or Distribution’s success
 5 or failure does not translate to success or failure for the Fund Investors.
 6
 7          The second prong of the Howey test is not satisfied. The transactions at issue in this
 8 matter do not constitute securities and the Complaint should be dismissed.
 9
10          E.     Even If Taken As One Transaction; Still Not A Security Since No
                   Expectation of Profits Produced By The Effort of Others
11          The third element of the Howey test, an expectation of profits produced by the
12 efforts of others, requires “the efforts made by those other than the investor are the
13 undeniably significant ones, those essential managerial efforts which affect the failure or
14 success of the enterprise.” Smith v. Gross, 604 F.2d 639, 642 (9th Cir. 1979)
15
16          In Elson v. Geiger, 506 F.Supp. 238, 243 (E.D. Mich. 1980), the return on
17 investment that had been promised to the purchasers was the lessee’s rent payment. The
18 Elson Court noted that although the plaintiffs argued that seller-lessee’s managerial ability
19 was requisite to a continuation of the timely rental payments, this contention alone does
20 not meet the Howey test. Every lessor, in some measure, is reliant upon his commercial
21 lessee’s ability to manage the business profitably; however, such reliance will not render
22 every commercial lease a security.
23
24          Similarly, in Cordas v. Specialty Restaurants, Inc., 470 F.Supp. 780, 788 (D.
25 Or.1979), the Court found that reliance by plaintiff sublessee on efforts of defendants in
26 their capacities as lessee and lessor was insufficient to establish that sublease fell within
27 Howey definition of a security where essential managerial decisions bearing on success of
28

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 1 business were in plaintiff’s hands so that there was not an expectation of profits to be
 2 derived fully from efforts of others.
 3
 4         Finally, the Court in Gordon v. Terry, 684 F.2d 736, 741 (11th Cir. 1982) clarified
 5 that an investor that has the ability to control the profitability of his investment by his own
 6 efforts is not dependent upon the managerial skills of others. As such, arrangements which
 7 grant the investors control over the significant decisions of the enterprise are not securities.
 8
 9         The opinions in Elson, Cordas and Gordon are instructive. The third element of the
10 Howey Testis is not satisfied if the investor can make essential management decisions. The
11 Fund Investors leased the solar generators to Distribution, had to collect rent, terminate the
12 sublease for breach and potentially sue for damages, and find other lessees, if necessary, to
13 get profits. All of those decisions belonged exclusively to the Fund Investors.
14
15         Elson clarifies that every lessor, in some measure, is reliant upon his commercial
16 lessee’s ability to manage the business profitably; however, such reliance will not render
17 every commercial lease a security. While the Fund Investors hoped Distribution would
18 make the rent payments under the lease, this does not make the lease a security.
19
20         The third prong of the Howey test is not satisfied. The transactions at issue in this
21 matter do not constitute securities and the Complaint should be dismissed.
22
23 V.      THE FIRST AND SECOND CLAIMS FOR RELIEF FAIL TO STATE A
           CLAIM UPON WHICH RELIEF CAN BE GRANTED BECAUSE LAUER
24         OWED NO DUTY TO DISCLOSE
25         A.      No Liability for Failure to Disclose Absent a Duty to Do So
26         For 10b-5 liability, when an allegation of fraud is based upon nondisclosure, there
27 can be no fraud absent a duty to speak. Chiarella v. United States, 445 U.S. 222, 235
28 (1980). One who fails to disclose material information prior to the consummation of a

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 1 transaction commits fraud only when he is under a duty to do so. And the duty to disclose
 2 arises when one party has information that the other party is entitled to know because of a
 3 fiduciary or other similar relation of trust and confidence between them. Id. @ 228. Not
 4 to require such a fiduciary relationship, would depart radically from the established
 5 doctrine that duty arises from a specific relationship between two parties. Dirks v. S.E.C.,
 6 463 U.S. 646, 654–55 (1983).
 7
 8          When the nature of the offense is a failure to “blow the whistle”, the defendant must
 9 have a duty to blow the whistle. And this duty does not come from §10(b) or Rule 10b–5;
10 if it did the inquiry would be circular. The duty must come from a fiduciary relation
11 outside securities law. Barker v. Henderson, Franklin, Starnes & Holt, 797 F.2d 490, 496
12 (7th Cir. 1986). The duty to disclose material facts arises only where there is some basis
13 outside the securities laws, such as state law, for finding a fiduciary or other confidential
14 relationship. Fortson v. Winstead, McGuire, Sechrest & Minick, 961 F.2d 469, 472 (4th
15 Cir. 1992).
16
17          B.     Lauer Owed No Duty to The Fund Investors and Their Counsel
18          It is well-settled an attorney owes no duty of care to his client’s adversary. Tocco v.
19 Richman Greer Professional Association, 553 F.Appx. 473, 475 (6th Cir. 2013). An
20 attorney has no duty to protect the interests of an adverse party for the obvious reasons that
21 the adverse party is not the intended beneficiary of the attorney’s services, and that the
22 attorney’s undivided loyalty belongs to the client. Fox v. Pollack (1986) 181 Cal.App.3d
23 954, 961.
24
25          A lawyer cannot be held liable for misrepresentation under section 10(b) for failing
26 to disclose information about a client to a third party absent some fiduciary or other
27 confidential relationship with the third party. Schatz v. Rosenberg, 943 F.2d 485, 490 (4th
28 Cir. 1991).

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 1          The Court in In re Cascade International Securities Litigation, 840 F.Supp. 1558,
 2 1564 (S.D. Fla. 1993) explains,
 3          “These law firms represented Cascade, not any third party, and therefore did
            not have duty to investigate their client. While Plaintiffs claim a great
 4          injustice would be done to purchasers of Cascade stock if these law firms
            were to be dismissed from the suit, this Court does not believe that the
 5          current law requires a law firm to direct its activities from representation to
            investigation of their clients at the slightest suggestion that their clients may
 6          be involved in unsavory activities. The Court will not go so far as to require
            law firms to fully investigate their clients at any hint that they may be
 7          conducting fraudulent activities, and then to punish the law firms if they do
            not do so. Otherwise, the law firms would be charged with a duty to the
 8          public at large to ‘tattle’ on their clients.”
 9          The In re Cascade opinion concludes that since plaintiffs failed to demonstrate any
10 kind of fiduciary relationship between the defendant law firms and plaintiffs, no duty to
11 disclose exists, and, therefore, no action for securities fraud can be maintained against the
12 defendant law firms. 840 F. Supp. @ 1564-65.
13
14          Similarly, in Schatz v. Rosenberg, 943 F.2d 485 (4th Cir. 1991), the plaintiffs
15 maintained the defendant’s lawyers were liable for securities fraud since they remained
16 silent even though they knew their client’s financial statements and an update letter relied
17 upon by the plaintiffs’ were false and that the lawyers had prepared draft closing
18 documents containing misrepresentations. The Appellate Court affirmed the trial court’s
19 granting of a 12(b)(6) motion, instructing,
20          “Unless a relationship of “trust and confidence” exists between a lawyer and
            a third party, the federal securities laws do not impose on a lawyer a duty to
21          disclose information to a third party.” Id. @ 492.
22
23          C.     Lauer Actually Owed a Duty Not to Disclose
24                 i.     The Attorney-Client Privilege
25          It is the duty of an attorney to maintain inviolate the confidence, and at every peril
26 to himself or herself to preserve the secrets, of his or her client. Cal. Bus. & Prof. Code
27 §6068(e)(1). The object of the attorney-client privilege is to enhance the value which
28 society places upon legal representation by assuring the client the opportunity for full

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 1 disclosure to the attorney unfettered by fear that others will be informed. Glade v.
 2 Superior Court (1978) 76 Cal.App.3d 738, 743.
 3
 4          The relation between attorney and client is a fiduciary relation of the very highest
 5 character and binds the attorney to most conscientious fidelity. Among other things, the
 6 fiduciary relationship requires that the attorney respect his or her client’s confidences.
 7 Zador Corp. v. Kwan (1995) 31 Cal.App.4th 1285, 1293. An attorney required by law to
 8 disclose material facts, to third parties might thus breach his or her duty, required by good
 9 ethical standards, to keep attorney-client privileges. In re Towers Financial Corporation
10 Noteholders Litigation, 1995 WL 571888, at *17 (S.D.N.Y. Sept. 20, 1995).
11
12                 ii.    The Duty of Confidentiality
13          In addition to the attorney-client privilege, an attorney owes to his or her client a
14 duty of confidentiality. Dietz v. Meisenheimer & Herron (2009) 177 Cal.App.4th 771,
15 786. This duty of confidentiality is broader than the attorney-client privilege and protects
16 virtually everything the lawyer knows about the client’s matter regardless of the source of
17 the information. Elijah W. v. Superior Court (2013) 216 Cal.App.4th 140, 151. These
18 confidences may or may not be subject to the attorney-client privilege, but must
19 nonetheless be kept confidential by the attorney so as not to cause the client or former
20 client embarrassment or harm. Chubb & Son v. Superior Court (2014) 228 Cal.App.4th
21 1094, 1104.
22
23          D.      Plaintiff Alleges Lauer Should Have Disclosed Attorney-Client
                    Privileged and Confidential Information
24          All of the information Lauer allegedly failed to disclose was told to him by his
25 clients and therefore subject to the attorney-client privilege, and also falls within the
26 broader duty of confidentiality because it concerns his client. As articulated in Renovitch
27 v. Kaufman, 905 F.2d 1040, 1048 (7th Cir. 1990), “Simply put, lawyers are not required to
28 tattle on their clients in the absence of some duty to disclose. To the contrary, attorneys

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 1 have privileges not to disclose.” Thus, Lauer could not disclose any of the information
 2 plaintiff alleges he should have disclosed to the Fund investors.
 3
 4 VI.     THE FIRST AND SECOND CLAIMS FOR RELIEF FAIL TO STATE A
           CLAIM UPON WHICH RELIEF CAN BE GRANTED BECAUSE LAUER
 5         DID NOT EMPLOY A MANIPULATIVE, DECEPTIVE OR FRAUDULENT
           DEVICE
 6
 7         A.     Employment of Manipulative, Deceptive or Fraudulent Device Required
 8         The First Claim for Relief alleges Lauer violated Section 10(b) of the Exchange Act
 9 [15 U.S.C. §78j(b)] and Rule 10b-5 thereunder [17 C.F.R. - § 240.10b-5] (Compl. ¶67.).
10 Section 15 U.S.C. §78j(b) provides it shall be unlawful for any person to use or employ
11 “any manipulative or deceptive device” in connection with the purchase or sale of any
12 security. Similarly, 17 C.F.R.-§240.10b-5 makes it unlawful for any person to “employ
13 any device, scheme, or artifice to defraud” in connection with the sale of any security.
14
15         The Second Claim for Relief alleges Lauer violated Section 17(a) of the Securities
16 Act [15 U.S.C. §77q(a)] (Compl. ¶70.). Section 77q(a) makes it unlawful for any person
17 to “employ any device, scheme, or artifice to defraud” in connection with the purchase or
18 sale of any security.
19
20         Plaintiff suggests a novel and untenable theory that Lauer preparing the Transaction
21 Documents constitutes the employment of a manipulative, deceptive or fraudulent device.
22
23         B.     The Transaction Documents Are Not Representations of Distribution’s
                  Ability to Pay
24         The statement in an agreement “I promise to pay” is not equivalent to “I have the
25 current ability to pay.” As such, the statement “I promise to pay” was not a false
26 representation. Heine v. Bank of Oswego, 144 F. Supp. 3d 1198, 1218 (D. Or. 2015). See
27 also, Trefoil Park, LLC v. Key Holdings, LLC, 2016 WL 837920, at *5 (D. Conn. Mar. 3,
28 2016)(a promise to pay was not a representation of the ability to pay).

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 1          The sublease between Distribution and the Fund created an obligation on the part of
 2 Distribution to pay. The sublease was not a representation of Distribution’s ability to pay.
 3 Plaintiff confuses these two concepts to suggest the sublease fraudulently represented
 4 Distribution’s ability to pay the sublease payments.
 5
 6          C.     The Closing Documents Cannot Create Obligations On A Nonparty
 7          It goes without saying that a contract cannot bind a nonparty. E.E.O.C. v. Waffle
 8 House, Inc., 534 U.S. 279, 294, (2002). The obligations of a contract are limited to the
 9 parties to the contract and cannot be imposed on a nonparty. ARE Sikeston Limited
10 Partnership v. Weslock Nat., Inc., 932 F. Supp. 240, 242 (E.D. Mo. 1996). See, also
11 Gowen Oil Company, Inc. v. Abraham, 2010 WL 11463696, at *6 (S.D. Ga. Sept. 3, 2010)
12 (right of first refusal provision does not create an obligation on the part of a nonparty to
13 the contract to disclose the impending purchase, no more than it creates a duty on his
14 lawyers to do so. Contractual obligation is personal to contracting party and creates no
15 duties on the part of third parties.)
16
17          Plaintiff does not, and cannot, allege Lauer was a party or signatory to, or even
18 referenced in, any of the Transaction Documents. Since the Transaction Documents do not
19 create any obligations on Lauer’s part, they cannot constitute fraudulent statements by him.
20
21          D.    The Closing Documents Are Arms-Length Transactions Negotiated by
                  Counsel
22          Courts have consistently found agreements among parties represented by counsel to
23 be enforceable, arms-length transactions. See, Citibank, N.A. v. Itochu International Inc.,
24 2003 WL 1797847, at *1 (S.D.N.Y. Apr. 4, 2003) (Plaintiffs are sophisticated business
25 entities who were represented by counsel and negotiated the Agreement at arm’s length.
26 This Court, therefore, will hold plaintiffs to the agreement to which they bargained);
27 Schempp v. GC Acquisition, LLC, 630 F.Appx. 541, 545–46 (6th Cir. 2015) (party was
28 represented by an attorney who extensively negotiated the agreement —an arms-length

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 1 transaction); ACP GP, LLC v. Putnam County. Memorial Hosp., 2016 WL 5109143, at *2
 2 (D.N.J. Sept. 19, 2016) (party was represented by counsel when the agreement was
 3 negotiated, reviewed, and subsequently executed, and advised by that same counsel that
 4 the agreement was valid and enforceable).
 5
 6         The Fund investors were represented by sophisticated counsel who reviewed and
 7 negotiated the Transaction Documents. As such, there is a presumption the Transaction
 8 Documents are enforceable, arms-length agreements.
 9
10         E.      An Attorney Preparing Documents Is Not Making Representations to
11                 the Opposing Party
12         An attorney cannot approve an agreement or give a legal opinion on behalf of an
13 opposing party. B.L.M. v. Sabo & Deitsch (1997) 55 Cal.App.4th 823, 839. In rejecting
14 plaintiff’s theory of liability for defendant law firm, the Court in B.L.M. explained,
15         “According to this theory, it would appear that any time the parties to a
           contract are named in the contract, and a law firm is named in the contract as
16         representing one of the parties, the law firm would owe a professional duty
           of care to all the other parties named in the contract as well. We reject this
17         approach as being unworkable and undermining the very nature of the
           attorney-client relationship.” Id. @ 832.
18
19         Similarly, in Schatz v. Rosenberg, 943 F.2d 485, 497 (4th Cir. 1991) the Court held
20 a lawyer cannot be liable for the representations of a client, even if the lawyer incorporates
21 the client’s misrepresentations into legal documents or agreements necessary for closing
22 the transaction. The Schatz opinion rejects attorney liability, explaining,
23         “Otherwise, there would be a per se rule holding attorneys liable in every
           securities fraud case, because in virtually every transaction, attorneys draft
24         the closing documents. Clearly, the fact that an attorney drafts a closing
           document does not automatically create a warranty that every statement and
25         agreement made by the client is true. Any other result would make attorneys
           co-guarantors and co-signatories, along with their clients, in every securities
26         transaction.” Id. @ 497.
27
28

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 1          Lauer did not represent the Fund investors. The Funds had their own counsel.
 2 Accordingly, by preparing the Transaction Documents, Lauer was not making any
 3 representations to the opposing party, the Fund investors.
 4
 5          F.    The Investors and Their Counsel Cannot Rely on Lauer’s
                  “Representations”
 6          In Tocco v. Richman Greer Professional Association, 553 F.Appx. 473 (6th Cir.
 7 2013), attorneys for a Ponzi scheme operator were not liable to a defrauded investor for
 8 failing to disclose their client’s financial condition. The Tocco opinion instructs,
 9          “Reasonable reliance by a party upon an attorney’s representations cannot
            exist where the interests of that party are adverse to those of the attorney’s
10          client. As is apparent, it is unreasonable for a nonclient to repose confidence
            and trust in an attorney when any of the interests of the client and the
11          nonclient are adverse. Indeed, placement of trust, confidence, and reliance ...
            is unreasonable if the interests of the client and nonclient are ... even
12          potentially adverse.”
            Id. @ 475, citations omitted.
13
14          In Lopes v. Vieira, 543 F.Supp.2d 1149, 1176 (E.D. Cal. 2008), this District held,
15          “Traditionally, lawyers are accountable only to their clients for the
            sufficiency of their legal opinions. It is well understood in the legal
16          community that any significant increase in attorney liability to third parties
            could have a dramatic effect upon out entire system of legal ethics. An
17          attorney required by law to disclose ‘material facts’ to third parties might
            thus breach his or her duty, required by good ethical standards, to keep
18          attorney-client confidences. Similarly, an attorney required to declare
            publicly his or her legal opinion of a client’s actions and statements may find
19          it impossible to remain as loyal to the client as legal ethics properly require.”
20
21          As explained above, the Transaction Documents do not contain “representations”
22 by Lauer. Even assuming arguendo they do, the Tocco decision makes clear that since the
23 Fund investors’ interests were adverse to Solutions and Distribution, the Fund investors
24 could not rely on Lauer’s “representations” in the Transaction Documents. The Lopes
25 decision articulates the strong public policy against extending a lawyer’s liability to third
26 parties such as the Fund investors.
27
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 1         G.   An Attorney Providing Legal Services Is Not Enough to Establish
                Liability
 2         Lawyers do not vouch for the probity of their clients when they draft documents
 3 reflecting their clients’ promises, statements, or warranties. Schatz v. Rosenberg, 943 F.2d
 4 485, 495 (4th Cir. 1991). Several Courts have found providing legal services cannot
 5 establish RICO liability. See e.g., Baumer v. Pachl, 8 F.3d 1341, 1344 (9th Cir. 1993)
 6 (attorney preparing partnership agreement and sending letters insufficient for liability since
 7 attorney’s role was limited to providing legal services to the limited partnership; he did not
 8 direct or control the RICO enterprise); Biofeedtrac, Inc. v. Kolinor Optical Enterprises &
 9 Consultants, S.R.L., 832 F.Supp. 585, 591 (E.D. NY., 1993) (no RICO liability where
10 attorney provided advice and legal services to advance a fraudulent scheme but was not
11 involved in creating the scheme); and Nolte v. Pearson, 994 F.2d 1311, 1317 (8th Cir.
12 1993) (conduct of attorneys insufficient to impose liability since attorneys did not
13 participate in the operation or management of the enterprise).
14
15         Lauer is not alleged to be an employee, officer, director or shareholder of Solutions
16 or Distribution. He was outside counsel. He did not direct, control or participate in the
17 management or operating of either entity. Lauer provided legal services by drafting the
18 Transaction Documents. The mere provision of legal services is not enough to establish
19 liability.
20
21         H.     Lauer Allegedly Being Aware of Distribution’s Financial Condition and
22                Drafting the Transaction Documents Does Not Constitute Fraud
23         In Bracht v. Grushewsky, 448 F.Supp.2d 1103 (E.D. Mo. 2006), plaintiff purchased
24 an airplane from defendant Grushewsky. Subsequently, Grushewsky told plaintiff he
25 could not complete the airplane to plaintiff’s standards and offered to return the purchase
26 price. Plaintiff never received any money back. Defendant Gross was Grushewsky’s
27 attorney who prepared the purchase agreement for the airplane. In addition to suing
28 Grushewsky, plaintiff sued Gross on the theory that Gross was aware of defendant’s

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 1 financial problems and nonetheless continued to sell planes to new customers and kept
 2 drafting contracts for the sale of new planes. The Court granted Gross’ motion for
 3 summary judgment, holding (i) an attorney’s awareness of financial problems does not
 4 constitute fraud; (ii) an attorney’s awareness of a problem and not following up on the
 5 problem does not constitute fraud; and (iii) drafting legal documents in spite of an
 6 awareness of a corporation’s financial problems does not constitute fraud. (448 F. Supp.
 7 2d @ 1112.)
 8
 9         The same reasoning applied by the Court in Bracht applies to the instant case. The
10 allegation that Lauer knew of Distribution’s financial condition and kept drafting legal
11 documents does not constitute fraud.
12
13         In sum, Lauer providing legal services and drafting the Transaction Documents
14 does not constitute the employment of a manipulative, deceptive of fraudulent device. As
15 such, the First and Second Claims for Relief must be dismissed.
16
17 VII.    THE SECOND CLAIM FOR RELIEF FAILS TO STATE A CLAIM UPON
           WHICH RELIEF CAN BE GRANTED BECAUSE LAUER DID NOT
18         OBTAIN MONEY OR PROPERTY
19         The essence of the Section 17(a)(2) claim is that the person, in the offer or sale of
20 securities, obtained money or property by means of an untrue statement of material fact. 15
21 U.S.C. § 77q(a). It is not sufficient that a materially untrue statement was made and the
22 person also made money, such as the incidental payment of a scheduled salary and bonus.
23 It must be plausibly alleged that the money was obtained “by means of” the false
24 statement. Thus, regardless of the manner of compensation, if the person would have
25 earned the same fees or compensation regardless of whether the statement was false, a
26 Section 17(a)(2) claim does not lie. United States Securities and Exchange Commission v.
27 Wey, 246 F.Supp.3d 894, 915 (S.D.N.Y. 2017).
28

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 1         In Wey, the Court granted defendant’s 12(b)(6) motion, finding the payment of legal
 2 fees is not obtaining money or property by means of an alleged misrepresentation. See also,
 3 United States Securities and Exchange Commission v. DiMaria, 207 F.Supp.3d 343, 358
 4 (S.D.N.Y. 2016)(dismissing 17(a)(2) claim against executive who signed off on fraudulent
 5 financial statements because there were no allegations that defendant’s compensation was
 6 increased in any way by the fraud); and U.S. Securities and Exchange Commission v.
 7 Syron, 934 F.Supp.2d 609, 640 (S.D.N.Y. 2013) (rejecting argument that employee
 8 “obtains money or property” by engaging in fraudulent activity that is within the scope of
 9 his employment and for which he is compensated by his employer, without allegations that
10 employee’s compensation was affected in some way by the fraud).
11
12         Similar to counsel for the Fund investors and tax counsel in the transaction, Lauer
13 was paid legal fees to prepare the Transaction Documents. The Court in Wey clarifies that
14 payment of legal fees is not obtaining money or property by means of an alleged
15 misrepresentation. Likewise, since Lauer’s legal fees were set per transaction, in accord
16 with DiMaria and Syron, Lauer did not obtain money or property.
17
18 VIII. THE THIRD AND FOURTH CLAIMS FOR RELIEF FOR AIDING AND
         ABETTING FAIL TO STATE A CLAIM UPON WHICH RELIEF CAN BE
19       GRANTED
20         A.     No Aiding and Abetting Liability Since No Duty to Disclose
21         For aiding and abetting liability, knowledge of a material omission is not enough.
22 There must also be a duty to disclose. When the nature of the offense is a failure to
23 “blow the whistle”, the defendant must have a duty to blow the whistle. And this duty does
24 not come from § 10(b) or Rule 10b–5; if it did the inquiry would be circular. The duty
25 must come from a fiduciary relation outside securities law. Barker v. Henderson,
26 Franklin, Starnes & Holt, 797 F.2d 490, 496 (7th Cir. 1986), citing Dirks v. SEC, 463 U.S.
27 646, 653–54, (1983); Chiarella v. United States, 445 U.S. 222, 227–35. Absent a duty to
28

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 1 disclose, allegations a defendant knew of the wrongdoing and did not act fail to state an
 2 aiding and abetting claim. Schatz v. Rosenberg, 943 F.2d 485, 496 (4th Cir. 1991).
 3
 4          For the reasons set forth in Section V above, Lauer did not owe a duty to disclose to
 5 the Fund investors or their counsel. As such, there can be no liability for aiding and
 6 abetting.
 7
 8          B.     No Aiding and Abetting Liability Since No Direct Liability
 9          The plaintiff must show that each person alleged to be an aider or abetter himself
10 committed one of the “manipulative or deceptive” acts or otherwise met the standards of
11 direct liability. Barker v. Henderson, Franklin, Starnes & Holt, 797 F.2d 490, 495 (7th
12 Cir. 1986).
13
14          For the reasons set forth in Section VI above, Lauer did not commit a manipulative
15 or deceptive act or otherwise meet the standards for direct liability for securities fraud. As
16 such, there can be no liability for aiding and abetting.
17
18
19 IX.      CONCLUSION
20          For the foregoing reasons, defendant Ari J. Lauer respectfully requests the Court
21 grant his Motion to Dismiss for Failure to State a Claim Upon Which Relief Can Be
22 Granted.
23                                      Respectfully submitted,
24                                      LAW OFFICES OF ARI J. LAUER
25
26
27                                      By: ___________________________
                                                    ARI J. LAUER
28                                            Attorneys for Defendant

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 1                         MEET AND CONFER CERTIFICATION
 2
 3         I certify the following:
 4         1.     I sent Dean Conway, counsel for plaintiff Securities and Exchange
 5 Commission, an email the morning of December 19, 2022 explaining Judge Drozd’s
 6 Standing Order requires the parties to meet and confer prior to filing a motion. I attached a
 7 copy of this Motion to Dismiss to my email.
 8         2.     My email requested Mr. Conway respond no later than noon on December
 9 21, 2022 if he wished to discuss the Motion to Dismiss as I planned on filing the motion
10 on Wednesday, December 21, 2022 or Thursday, December 22, 2022. Otherwise, I
11 offered to advise the Court that the SEC believes the Complaint is well pled.
12         3.     Mr. Conway and I have communicated several times by email in this case. I
13 sent my email to the same email address for Mr. Conway as used in our other
14 communications.
15         4.     After not receiving any response from Mr. Conway to my initial email, I sent
16 Mr. Conway another email at 12:16 p.m. on December 21, 2022. I explained in my email
17 that my response to the Complaint is due December 26, 2022, but that I would be out of
18 the office from December 22nd through December 27th. I stated that if Mr. Conway needed
19 more time to review the motion, he could grant me an extension of time to respond to the
20 Complaint and I would wait to file the motion. My email further stated that I would wait
21 until the following morning and if I didn’t hear back, I would advise the Court that I tried
22 to meet and confer with him but did not hear back in response to my emails.
23         5.     As of the time of filing this Motion, I have not received any response to my
24 emails to Mr. Conway attempting to meet and confer regarding this Motion.
25
26
27                                            ___________________________________
                                              ARI J. LAUER
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 1                              CERTIFICATE OF SERVICE
 2
 3         I certify that on December 22, 2022, a copy of the foregoing document was served
 4 upon all counsel of record via ECF.
 5
 6
 7                                          ___________________________________
                                            ARI J. LAUER
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